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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                     4:10CR3092
                                             )
              v.                             )         MEMORANDUM AND ORDER
                                             )
MARCELLA M. SCHARTON,                        )
                                             )
                     Defendants.             )

       The defendant has moved to continue the pretrial motion deadline currently set for
September 27, 2010. Filing No. 21. The defendant’s motion states the defendant has not
received all of the government’s Rule 16 discovery, and after receipt, she will need additional
time to determine whether pretrial motions should be filed. Based on the showing set forth in
the defendant’s motion, the court finds the motion should be granted.

       IT IS ORDERED:

       1)     The defendant’s unopposed motion to continue, (filing no. 21), is granted and
              the defendant’s pretrial motions and briefs shall be filed on or before October 27,
              2010.

       2)     The ends of justice will be served by granting defendant’s motion to continue the
              pretrial motion deadline, and outweigh the interests of the public and the
              defendant in a speedy trial, and the additional time arising as a result of granting
              the motion, the time between today’s date and October 27, 2010, shall be
              deemed excludable time in any computation of time under the requirements of
              the Speedy Trial Act, for the reason that the parties require additional time to
              adequately prepare the case, taking into consideration due diligence of counsel,
              the novelty and complexity of the case, and the fact that the failure to grant
              additional time might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(7)(A) & (B).

       3)     As to all defendants, the trial of this case is continued pending resolution of any
              pretrial motions filed.


              September 21, 2010.                  BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
